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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA              )
                                      )
            v.                        )          Cr. No. 16-10236-MLW
                                      )
ROBERT M. PENA,                       )
     Defendant.                       )

                          MEMORANDUM AND ORDER

WOLF, D.J.                                                         May 29, 2020


     This    Memorandum      is   based   upon    the    transcript     of   the

decision rendered orally on May 15, 2020. This Memorandum adds a

summary and some citations, deletes some colloquy, and clarifies

some language.

                                    * * *

I.   SUMMARY

     Defendant Robert Pena is serving a 32-month sentence for

defrauding the United States government of $2,500,000. On April

21, 2020, Pena filed an Emergency Motion for Release Pursuant to

18 U.S.C. §3582(c)(1)(A)(i) (the "Motion"). Defendant asks the

court to reduce his prison sentence and permit him to serve the

equivalent time on Supervised Release in home confinement in

view of the risk posed to him by the Coronavirus Disease 2019

("COVID-19")     pandemic,    primarily     because     he   is   70-years   old.

Pena was, as ordered by the court, tested on May 15, 2020 for

the virus and the result was negative. The court finds that
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defendant         has    proven     he    should        be    released        now    to     home

confinement.

       Because Pena has appealed his sentence, and that appeal is

pending,       the      court    does    not     have    jurisdiction         to    grant    the

Motion without a remand from the First Circuit. Therefore, Pena

has also filed a Motion for an Indicative Ruling under Federal

Rule of Criminal Procedure 37(a)(3), asking that the court state

that    it   would       grant     the    Motion       and    request     that      the   First

Circuit remand the case for that purpose. See Dkt. No. 173. The

court is allowing the Motion for an Indicative Ruling.

       If and when the First Circuit remands, the court will order

that Pena be tested again. If Pena again tests negative, the

court will grant his Motion, reduce his sentence to time-served,

and order his immediate release to home confinement to serve the

remainder of the equivalent of his sentence. More specifically,

the    court      will    order    Pena     to       serve   36    months     of    Supervised

Release,       with      the    remainder      of     the    32-month     prison     sentence

imposed      to    be    served    in    home        confinement     as   a   condition       of

Supervised Release. Pena will, therefore, be in home confinement

until January 26, 2022. As conditions of Supervised Release,

Pena    will      be     subject    to    electronic         monitoring.       He     will    be

allowed to leave his home only for medical appointments approved

by    Probation,         for    medical     emergencies           reported    to    Probation

within 24 hours, and to participate in religious observances if

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pre-approved          by    Probation,      which      Probation       would     not    be

authorized to allow if the United States or the government of

Massachusetts         is     recommending        against       congregate       religious

observances. In addition, the court will continue the conditions

of     Supervised          Release    originally        imposed,        including      the

requirement that Pena pay $2,500,000 in restitution.

II.    PROCEDURAL HISTORY

       On April 23, 2019, Pena was sentenced to serve 32 months in

prison for defrauding the United States of $2,500,000, to be

followed by two years of Supervised Release. Dkt. No. 147. The

court also ordered restitution in the amount of $2,500,000. Id.

Pena has appealed the sentence, and that appeal is pending in

the First Circuit. See Dkt. Nos. 149, 151.

       Pena began serving his sentence at the satellite camp at

the Federal Medical Center Devens ("FMC Devens") on October 20,

2019. See Dkt. No. 161, 171-1. Ordinarily, Pena would complete

his term in custody on January 26, 2022. See Pena Decl. ¶4 (Dkt.

No. 171-1).

       On April 8, 2020, Pena filed a request with the Bureau of

Prisons that it transfer him to home confinement, or that it

file   a     motion    requesting     that       the   court    reduce    his    sentence

pursuant      to     18    U.S.C.    §3582(c)(1)(A)(i)          (the     "compassionate

release statute"), in view of the COVID-19 pandemic and his age,

70.    See    Dkt.    No.    171-2.   The    Warden      of    FMC     Devens,    Stephen

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Spaulding (the "Warden"), denied Pena's request on April 22,

2020. See Dkt. No. 175-1. Pena filed the Motion on April 21,

2020. See Dkt. No. 171. He asks the court to reduce his prison

sentence and permit him to serve the equivalent time in home

confinement.

       Because the appeal of Pena's sentence is pending in the

First Circuit, the court does not now have jurisdiction to grant

the    Motion.       Therefore,      Pena        also     filed     a   Motion         for   an

Indicative      Ruling       under    Federal       Rule      of    Criminal       Procedure

37(a)(3), asking that the court state that it would grant the

Motion and requesting that the First Circuit remand the case for

that purpose. See Dkt. No. 173.

       The court conducted hearings on the Motion on May 6 and 13,

2020. Warden Spaulding testified at the May 13, 2020 hearing.

III. LEGAL STANDARD

       Prior    to     the   enactment      of    the     First     Step    Act    of    2018,

Pub. L. No. 115-391, 132 Stat. 5194 (Dec. 21, 2018), a court had

the authority to order the compassionate release of a prisoner

only   if   the      Bureau    of    Prisons      filed       a    motion   requesting       a

reduction in sentence. The United States Sentencing Commission

had found, based on reports from the Office of the Inspector

General of the Department of Justice, among other things, that

the    Bureau     of    Prisons      had    been        too   restrictive         in    making

compassionate release motions. See United States v. DiMasi, 220

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F. Supp. 3d 173, 181-82 (D. Mass. 2016); Department of Justice,

Office of the Inspector General, The Federal Bureau of Prisons’

Compassionate Release Program, at 11 (April 2013); Department of

Justice, Office of the Inspector General, The Impact of an Aging

Inmate Population on the Federal Bureau of Prisons, at 51 (May

2015).      Therefore,         in    2016,    the     Sentencing     Commission      revised

U.S.S.G.        §1B1.13       to    encourage    the     Bureau    of    Prisons    to   file

motions for compassionate release more frequently. This was in

part because the Sentencing Commission found that, while only

the    Director        of      the    Bureau     of      Prisons     had     the   statutory

authority to file a motion for compassionate release, the court

is    in    a   unique      position     to    assess     whether       extraordinary    and

compelling        circumstances          exist      and    whether       a   reduction     is

warranted and, if so, the amount of the reduction. See 81 Fed.

Reg. 27,261, at 27,264 (May 5, 2016); DiMasi, 220 F. Supp. 3d at

181-82.

       In essence, the Sentencing Commission encouraged the Bureau

of    Prisons     to     be    more    liberal      in    creating      opportunities     for

judges to consider whether compassionate release is justified,

and reminded judges of their statutory obligation to consider

the 18 U.S.C. §3553(a) factors and the Commission's guidance in

making such decisions. DiMasi, 220 F. Supp. 3d at 182.

       In       December       2018,     the     First      Step     Act     modified    the

compassionate release statute to authorize a prisoner to file a

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motion for a reduction of sentence if the Bureau of Prisons has

not granted his request to do so within a certain period of

time.      The     compassionate      release      statute,      18      U.S.C.

§3582(c)(1)(A)(i), now states in pertinent part that:

             [T]he court, upon motion of the Director of the
       Bureau of Prisons, or upon motion of the defendant
       after    the   defendant  has   fully  exhausted   all
       administrative rights to appeal a failure of the
       Bureau of Prisons to bring a motion on the defendant's
       behalf or the lapse of 30 days from the receipt of
       such a request by the warden of the defendant's
       facility, whichever is earlier, may reduce the term of
       imprisonment (and may impose a term of probation or
       supervised release with or without conditions that
       does not exceed the unserved portion of the original
       term of imprisonment), after considering the factors
       set forth in section 3553(a) to the extent that they
       are applicable, if it finds that --

            (i) extraordinary and compelling reasons warrant
       such a reduction; . . . and that such a reduction is
       consistent with applicable policy statements issued by
       the Sentencing Commission.

IV.    THE FACTS

       President Donald J. Trump has declared a national emergency

due to the COVID-19 pandemic. Because there is no vaccine to

prevent COVID-19 and because COVID-19 may be spread by infected

but asymptomatic individuals, the Centers for Disease Control

and Prevention (the "CDC") has advised members of the public to

wash    their    hands   often,   avoid   close   contact   --   i.e.,    being

within less than six feet of other people ("social distancing")

-- wear a face covering when around others, and regularly clean

and disinfect frequently touched surfaces. See CDC, Coronavirus

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Disease          2019               (COVID-19):               Protect             Yourself,

https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-

sick/prevention.html.          The     CDC        has   also    advised         that    these

measures   are    particularly         important        for    individuals        over      65-

years old because they, among other groups, are at higher risk

for    developing       more        serious       complications          from     COVID-19,

including death. See CDC, Coronavirus Disease 2019 (COVID-19):

Protect          Yourself,             https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-at-higher-risk.html.

       The CDC's view is supported by data from throughout the

United States and in Massachusetts. As of May 12, 2020, the CDC

reported that of the 37,300 deaths in the nation attributed to

COVID-19 for which it had information concerning the decedent's

age,   29,655    (79.5%)       were       individuals     aged      65    or     older.     In

Massachusetts, as of May 12, 2020, 4,357, or 85.3%, of the 5,108

deaths attributed to COVID-19, were people aged 70 or older. See

Dkt. No. 196, ¶¶1, 2. The CDC estimates that, if infected, a

person between 65 and 84-years old faces a 31 to 59% chance of

hospitalization,        an     11    to    31%      chance     of   admission          to    an

intensive care unit, and a 4 to 11% chance of dying. See Dkt.

No. 171, at n.7.

       According to the Massachusetts Department of Public Health,

almost all of the individuals who have died from COVID-19 in

Massachusetts had some preexisting condition. See Mass. Dep't of

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Pub.    Health       COVID-19      Dashboard,         at    13       (May    12,       2020),

https://www.mass.gov/doc/covid-19-dashboard-may-12-

2020/download. The CDC defines severe obesity as a condition

that puts a person at higher risk of severe illness from COVID-

19.    Severe    obesity     is    defined     as    having      a    body    mass      index

("BMI") of 40 kg/m2 or higher.

       Pena     is   70-years     old.   He    is    6'2"    tall.      When      he    began

serving his sentence in October 2019, he weighed 297 pounds and

had a BMI of 37.2 kg/m2. See Dkt. No. 189-2 (sealed medical

records). In an April 21, 2020 declaration under oath in support

of the Motion, Pena stated that when last weighed, "I was 307

pounds." Dkt. No. 170-1. If that were true, his BMI would have

been above 39 kg/m2, on the cusp of severe obesity. However, the

court finds that Pena's statement that when he was last weighed

he was 307 pounds was false. Pena's medical records show that on

March 24, 2020, he weighed 243 pounds. Id. On that date, Pena,

according      to    the   medical   records,        reported        that    he   had    been

exercising to lose weight. Id. The court finds that Pena knew he

had not recently weighed 307 pounds.

       In     view   of    the    statistics        cited    earlier,        Pena      is   at

significant risk of suffering severely if infected by the COVID-

19 virus by virtue of being age 70 alone. His false statement

concerning his weight contributes to the court's decision that

his    home     confinement       should       be    on     electronic        monitoring.

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However, it does not alter the conclusion that a reduction of

his sentence is justified.

      The court finds that there is a significant risk that the

COVID-19 virus will get into the FMC Devens Camp in which Pena

is held. On May 13, 2020, the Warden of FMC Devens provided

lengthy, candid, and informative testimony. The court finds that

he has been making his best efforts to keep inmates at the

medical facility and at the Camp at FMC Devens from becoming

infected by, among other things, modifying its operations plan,

issuing face coverings to staff and inmates, screening staff and

newly    admitted     inmates    for     the    disease,    suspending       in-person

visitation, and minimizing the number of staff who work both at

the medical center and the satellite Camp at FMC Devens. See

April 24, 2020 Bourke Decl. ¶21 (Dkt. No. 175-3); May 13, 2020

Tr.     44:11-45:6      (Dkt.      No.     206)        (testimony      of    Warden).

Nevertheless, as of May 13, 2020, eight inmates and two staff at

the   medical       facility    have    tested    positive       for   the   COVID-19

virus. See Dkt. No. 204 (citing Bureau of Prisons' website). The

Warden    agrees     that,     although    he    has    been    aggressive     in   his

efforts to protect inmates at the Camp, he has been "lucky" that

none have been infected yet. May 13, 2020 Tr. 90:15-20 (Dkt. No.

206).

      Some staff work in both the medical facility and the Camp.

The     CDC   has    advised     that     asymptomatic         individuals    may   be

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infected and spread the virus. See Savino v. Souza, C.A. No. 20-

10617-WGY, Dkt. No. 175 (D. Mass. May 12, 2020), at 15. However,

the Warden does not have the resources to test staff members who

do not have a fever or other symptoms of COVID-19 infection. The

Camp at FMC Devens does not conduct such testing. Nor does FMC

Devens    do    any    contact    tracing      of     staff    members      to    determine

whether they have interacted with an infected individual in the

community.      The    CDC,     however,      has     stated       that    such   tracings

should    be    a   priority     for   congregate         living     settings      such   as

prisons and camps.

       Therefore,       the    court     finds       that   it     is     probable   that,

despite the Warden's best efforts with the limited resources

available, his good luck will not continue and an inmate at the

Camp will become infected. If and when that occurs, there is

significant potential that the virus will spread at the Camp, as

the CDC has recognized is a significant risk in prisons and

jails generally. See Savino, supra, at 21.

       Social distancing is not possible to maintain at all times

in the Camp at FMC Devens. For example, inmates in the Camp

sleep in bunk beds and small cubicles without ceilings. Pena

does   not     share    his    cubicle.    However,         most    cubicles      have    two

inmates. There is only a thin wall between the cubicles. Inmates

are    not     six-feet       apart    when        they   sleep,     for    example.       In

addition,      they     must     share    bathrooms         and     other     facilities.

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Therefore, the risk of any infection at the Camp spreading is

high.

       The Warden testified that he did not consider the merits of

Pena's request for home confinement or the merits of his request

that    the   Bureau    of   Prisons    file    a    motion   for   compassionate

release because, under Bureau of Prisons' policy, defendant has

not served a sufficient percentage of his sentence. Pena will

become eligible for consideration for home confinement under the

Bureau of Prisons' policies in July 2020. The Warden testified

that    based   on     the   criteria   in     two    memoranda     from   Attorney

General    William     Barr,   if   Pena   were      now   eligible,   the   Warden

would recommend to his superiors that Pena be transferred to

home confinement. He expects that Pena's request for release

would be granted.

V.     HOME CONFINEMENT AND THE BUREAU OF PRISONS' POLICIES

       The court would not be required to consider Pena's motion

for compassionate release if the Bureau of Prisons had granted

his request to serve the remainder of his 32-month sentence in

home confinement. Prior to the pandemic, 18 U.S.C. §3624(c)(2)

only permitted the Bureau of Prisons to transfer a prisoner to

home confinement for the shorter of 10 percent of his term of

imprisonment or six months. Therefore, ordinarily, Pena would

not have been eligible for a transfer to home confinement until

October 22, 2021.

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       The       case    management        coordinator           at    FMC    Devens,        Amber

Bourke, asserted in a declaration that Pena is ineligible for

consideration for home confinement until that date. See Dkt. No.

189-1, ¶25. That is incorrect. Section 3624(c)(2) was amended by

the   Coronavirus         Aid,      Relief,      and    Economic        Security       Act    (the

"CARES      Act"),      Pub.   L.    No.    116-136,        134       Stat.   281     (Mar.    27,

2020). Section 12003(b)(2) of the CARES Act permits the Attorney

General to broaden the scope of inmates who may be considered

for home confinement if the Attorney General finds that COVID-19

is    materially        affecting        the    Bureau      of        Prisons'      operations.

Attorney       General     William       Barr    made    that         finding    on    April   3,

2020. See Mem. from W.P. Barr to M. Carvajal, at 1-2 (Apr. 3,

2020) (Dkt. No. 197-2). He then instructed the Bureau of Prisons

to    expand      the     review     for    transfers        to       home    confinement      to

include all at-risk inmates, not only those who were previously

eligible for transfer. See id. at 2.

       In    a    March     26,     2020       memorandum,        the     Attorney      General

directed         the    Bureau      of   Prisons       to    prioritize          the    use    of

transfers to home confinement for inmates making requests based

on the pandemic. Mem. from W.P. Barr to M. Carvajal, at 1-2

(Mar.    26,      2020)    (Dkt.     No.   197-1)).         He    stated      that     decisions

should be guided by the factors described in that memorandum.

Id. In his April 3, 2020 memorandum, the Attorney General wrote

that inmates with a suitable confinement plan would generally be

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appropriate       candidates      for   home   confinement,        rather     than

continued     detention     at    institutions     in    which     COVID-19    is

materially affecting operations. Id. In addition, the Attorney

General stated that determinations should be "individualized."

Id. at 3.

     In    his    March   26,    2020   memorandum,     the   Attorney   General

wrote that decisions concerning transfers to home confinement

should be made based on the totality of the circumstances. He

provided    the    following      non-exhaustive      list    of   discretionary

factors to be considered:

     1.     The age and vulnerability of the inmate to COVID-
            19 in accordance with CDC guidelines;

    2.      The security level of the facility currently
            holding the inmate, with priority given to
            inmates residing in low- and minimum-security
            facilities;

    3.      The inmate's conduct in prison;

    4.      The inmate's score under a series of factors
            called PATTERN, which measures the risk of
            recidivism;

    5.      Whether   the   inmate has  a   demonstrated   and
            verifiable    re-entry plan  that   will   prevent
            recidivism and maximize public safety, including
            verification that the conditions under which the
            inmate would be confined upon release would
            present a lower risk of contracting COVID-19 than
            the inmate would face in his or her Bureau of
            Prisons facility; and

    6.      The inmate's crime of conviction and assessment
            of the danger posed by the inmate to the
            community. (Some offenses, such as sex offenses,
            will   render  an  inmate  ineligible  for  home
            detention. Other serious offenses should weigh

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                more heavily         against        consideration          for     home
                confinement.)

Mem. from W.P. Barr to M. Carvajal, at 1-2 (Mar. 26, 2020) (Dkt.

No. 197-1).

      Despite       these    directions     from      the       Attorney      General,    the

Warden did not consider whether Pena satisfied these criteria

and, therefore, should be allowed to serve the remainder of his

sentence       in   home    confinement.       He    did    not    do    so    because    the

Bureau     of    Prisons     has   directed         its    wardens      not   to   evaluate

inmates for release under the Attorney General's criteria unless

they have served 50 percent or more of their sentence, or have

served 25 percent or more of their sentence and have 18 months

or less to serve. See Mem. from A. Matevousian & H.J. Hurwitz to

Bur. of Prisons Chief Exec. Officers, at 2-3 of 4 (May 8, 2020)

(Dkt.    No.     197-3).    The    Warden   testified           that    an    exception    to

these eligibility requirements can be made only if the Bureau of

Prisons headquarters in Washington, D.C., orders a warden to

evaluate for home confinement an inmate who has not served a

sufficient percentage of his sentence.

      Although the Warden did not know it when he was testifying

on   May    13,     2020,    about    the   Bureau         of    Prisons'        policy   and

practices, such a request for an evaluation was evidently made

by Bureau of Prisons headquarters concerning Paul Manafort, a

71-year-old inmate who had served only 23 months of a 77-month


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sentence, and who was released to home confinement that day. See

Assoc. Press, "Paul Manafort Released from Federal Prison to

Home Confinement over Coronavirus Concerns," Boston Globe (May

13, 2020).

      Pena will have served 25 percent of his sentence and have

18   months   remaining     in   July   2020,   two    months    from   now.    The

Warden testified that, in view of the criteria in the Attorney

General's March 26 and April 3, 2020 memoranda, he would then

recommend Pena's release to home confinement. More specifically,

the Warden stated that he would deem Pena to be an at-risk

inmate based on his age, 70, alone. The Warden does not view

Pena as otherwise vulnerable under the CDC guidelines. Pena is

held in a minimum-security facility. The Warden testified that

Pena's      conduct   has    been      exemplary.     Pena's     PATTERN    score

indicates he presents a minimum risk of recidivism. In addition,

he has an appropriate plan if released, i.e., to live with his

wife in their single-family home in Falmouth, Massachusetts. In

addition, in the Warden's view, Pena would not pose a danger to

the community. The Warden also implicitly indicated that Pena

would be at a lower risk of contracting the COVID-19 virus at

home than at FMC Devens when he found that Pena's release plan

was adequate. However, as indicated earlier, the Warden did not

do   this     analysis    when    he    received      Pena's    request    to   be



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transferred to home confinement because Pena had not served at

least 25 percent of his sentence.

      Nor     did      the    Warden     consider        whether       there       were

extraordinary and compelling reasons to file a motion, pursuant

to 18 U.S.C. §3582(c)(1)(A)(i), requesting that the court allow

Pena to serve the remainder of his sentence in home confinement

when the Warden denied Pena's request for such a motion on April

20, 2020. The Warden did not do so because, on January 17, 2019,

in   response    to    the    First    Step    Act    amendment      to   18     U.S.C.

§3582(c),     the   Bureau     of   Prisons    issued     a    program     statement

concerning      compassionate       release    motions.       See    Department        of

Justice,      Bureau     of    Prisons,       Program        Statement         5050.50,

Compassionate       Release/Reduction         in     Sentence:      Procedures        for

Implementation of 18 U.S.C. §§3582 and 4205(g) (Jan. 17, 2019).

In that program statement, the Bureau of Prisons set forth its

criteria for filing a motion to reduce sentence for an elderly

inmate. The wardens were directed to file such motions only, as

pertinent here, if the inmate was 70-years old and had served 30

years or more, or the inmate was 65 and had a serious medical

condition and had served 50 percent of his sentence, or the

inmate was 65 and served the greater of ten years or 75 percent

of his sentence. Id.

      These     restrictions        appear     to     this     court      to     be    a

continuation of the restrictive policies and practices of the

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Bureau      of   Prisons     that        prompted,      first,      the    revision       of    the

Sentencing         Guidelines       in    2016,    and      then     the      First     Step    Act

amendment        in    2018     permitting           prisoners           to      file    Section

3582(c)(1)(A)(i)          motions         themselves.       Among        other    things,       the

Bureau of Prisons Program Statement 5050.50 does not recognize

or discuss the fact that the First Step Act added the provision

that   a    motion     to    reduce       sentence       could      be    justified       by    the

extraordinary and compelling reasons on which Pena relies now.

       In    any    event,    the        Warden    did   not     consider        the    COVID-19

pandemic or anything specific to Pena other than how much of his

sentence he had served when the Warden denied Pena's request

that the Bureau of Prisons file a motion for reduction of his

sentence. Rather, solely because Pena had not served as long as

required by the Bureau of Prisons' program statement, the Warden

denied Pena's request for a motion for compassionate release.

       As    discussed        earlier,        Pena       will       become       eligible       for

consideration for home confinement under the Bureau of Prisons'

policies in July 2020. Based on the criteria in the memoranda

from   Attorney       General       Barr,     if     Pena    were        now   eligible,        the

Warden      would      recommend           that     Pena       be     released          to     home

confinement. The Warden expects that request would be granted.

The    court     agrees      that    release       to    home       confinement         would    be

justified and appropriate.



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      Therefore, as a practical matter, the issue for the court

now is whether Pena should be required to remain at FMC Devens

until July 2020, risk being infected by the COVID-19 virus, and,

if infected, face the high risk of hospitalization and possibly

death. When the court asked the Warden why it should not now

reduce   Pena's     sentence     to   avert        the   risk    that    he     will    be

infected     in   the   two     months      before       July   2020,     the       Warden

responded, "[t]hat's a great question." May 13, 2020 Tr. 91:15

(Dkt. No. 206).

VI.   THE MERITS OF THE MOTION FOR COMPASSIONATE RELEASE

      As Pena made his request to the Warden on April 8, 2020,

the parties agreed at the May 6, 2020 hearing that the 30-day

exhaustion    requirement       is    not     an   impediment      to    the    court's

deciding the pending merits of the Motion. The court concurs.

      The court finds that there are extraordinary and compelling

reasons that justify reducing Pena's sentence to time-served and

increasing    his   term   of    Supervised        Release      from    two    to   three

years. As part of this, it is most appropriate to require as a

condition of Supervised Release, that Pena be confined to his

home until January 26, 2022, with electronic monitoring.

      As the President and Attorney General, among many others,

have recognized, the virtually unprecedented COVID-19 pandemic

is extraordinary. It has created unforeseen and extreme risk to

the health of inmates generally, and particularly to those who

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are 65 and older. With regard to Pena, there are significant

risks that staff at the FMC Devens Camp will become infected,

that the infection will spread to inmates, and that, if Pena

becomes infected, he will by virtue of his age alone face a

significant risk of being hospitalized and also a risk of dying.

      The court finds that the 18 U.S.C. §3553(a) factors weigh

in favor of allowing Pena to, in effect, serve the remainder of

his   sentence    in   home   confinement.    As   the   court    said   in

sentencing Pena in 2019, he committed a serious fraud, over a

long period of time, that caused the United States a $2,500,000

loss. However, as the court also said at Pena's sentencing, he

was in many other respects a good person, including a faithful

father, a devoted husband, a very good friend, and a contributor

to his community. That is why the court imposed only a 32-month

sentence, which was below the Guidelines range. See Sentencing

Tr. 37:19-40:9 (Dkt. No. 163).

      Pena has tested negative for the virus. If he does so again

before being released, he will not be a danger to the health of

the community. The court found at his sentencing that a prison

sentence was not necessary to deter Pena from committing more

crimes and thus to protect the public. The court believed in

2019 that Pena had learned his lesson. His false statement about

his weight causes the court some concern about that conclusion.



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However,     the    court       continues       to   believe    that    Pena     will    not

commit crimes if released.

        In   all        white-collar      cases,      the      interest     of     general

deterrence is important. As trillions of dollars are being made

available quickly by the government as a result of the pandemic,

general deterrence is now an especially important consideration.

However, in view of the danger of being in prison created by the

COVID-19     virus,       the    seven    months      Pena   has   served       should    be

sufficient         to     send     the     message       that      it     would     be     a

miscalculation, potentially a fatal miscalculation, for anyone

to defraud the United States now.

       The court has considered whether ordering Pena's release

might    result     in     unjustified      disparity,       particularly        regarding

others who are 70 or older at the FMC Devens Camp. However, as

of May 8, 2020, there were only eight inmates 70 or older at the

Camp. On May 11, 2020, one of them, John DiMenna, was granted a

reduction of sentence to home confinement by a court over the

Bureau of Prisons' objections. See United States v. DiMenna, No.

3:17-cr-202 (VAB), Dkt. No. 71 (D. Conn. May 11, 2020). The

Warden testified that two or three other inmates at the Camp

over age 70 will be eligible and are scheduled to be released to

home     confinement        before       July    2020.   Therefore,        if     Pena   is

released, there will be three others over 70 in the Camp. If

they are similarly situated to Pena, the most appropriate way to

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avoid unjustified disparity will be for the Bureau of Prisons to

transfer them to home confinement or for a court to grant a

motion for such relief.

      Under    §3553(a),          the    court        must    also      consider      whether

allowing Pena to complete his sentence in home confinement will

promote   respect         of    the     law.   Fundamental         to    this    is   giving

integrity      to   the        bedrock     principle         of    equal    justice.        As

explained earlier, on May 13, 2020, the Warden testified that he

denied Pena's request for home confinement solely because of the

Bureau    of    Prisons'          policy       that     made      him    ineligible        for

consideration       because       he     had    not    served      25    percent      of   his

sentence and was not within 18 months of the end of it. However,

as the Warden was testifying, the Bureau of Prisons evidently

ordered an exception to this requirement for President Trump's

former campaign Chair, Paul Manafort, and transferred Manafort

to home confinement although he had served only 23 months of a

77-month sentence. Every person and case is unique. Manafort may

have health problems that placed him at particularly high risk.

However, making an exception to the Bureau of Prisons' policy

for Manafort, and refusing to consider Pena and other elderly

inmates' requests for relief on their merits, will inevitably

raise reasonable questions about whether justice is indeed blind

and   whether       the        administration         of     justice     today     deserves

respect. The court hopes that granting Pena the reduction in

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sentence      and   release         to    home     confinement        that   is   otherwise

justified will, in a small way, counter those concerns.

       Granting Pena's Motion will also be consistent with the

relevant policy statements of the Sentencing Commission. Using

the   same    language        as    18    U.S.C.       §3582(c)(1)(A)(i),         Sentencing

Guideline §1B1.13(1)(a) states that courts should consider the

§3553(a) factors and may reduce a sentence if "extraordinary and

compelling reasons warrant the reduction." The Guidelines were

last amended on November 1, 2018, a month before the First Step

Act amended §3582(c)(1)(A)(i), removing the requirement that the

Bureau of Prisons file the motion for reduction in sentence. The

Sentencing      Commission          has     not       amended   the    Guidelines     since

November 1, 2018, evidently because it does not have sufficient

members to take official action. In any event, the Guidelines

are out of date. For example, Application Note 4 still states

that a reduction in sentence may be granted only upon a motion

by the Bureau of Prisons. This is not true after the First Step

Act. Application Note 1(D), which also requires a determination

by    the    Bureau    of     Prisons       that       extraordinary       and    compelling

circumstances         exist        before    a        court   can   act,     is   similarly

vestigial and inoperative. See, e.g., United States v. Lisi, No.




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15 Cr. 457 (KPF), 2020 WL 881994, at *3 (S.D.N.Y. Feb. 24, 2020)

(collecting cases). 1

     Where, as here, the Bureau of Prisons has not considered

the existence of the COVID-19 pandemic, the §3553(a) factors, or

anything other than the amount of time Pena has served, it would

be   especially     inappropriate      to   deny     Pena's   motion      for

compassionate     release   because   the   Bureau   of   Prisons   has   not

filed its own motion. More instructive is the fact that the

Warden would in July 2020 recommend Pena for home confinement

based on the facts that exist today, and there are compelling

reasons not to perpetuate the significant risk to Pena if he

becomes infected.



1    As the court has previously noted:
     All provisions of the Sentencing Guidelines have been
     advisory since 2005, when the Supreme Court decided
     United States v. Booker, 543 U.S. 220 (2005). Policy
     Statements such as U.S.S.G. §1B1.13 that do not
     interpret a specific Guideline were advisory even
     before Booker. See United States v. O'Neil, 11 F.3d
     292, 302 n.11 (1st Cir. 1993). Moreover, the language
     in [the] Application Note[s] . . . is not [all] in
     §1B1.13 itself. For these reasons, while §1B1.13 and
     [the] Application Note[s] provide a framework for
     determining   the   merit   of   [a]  [m]otion   [for
     compassionate release], it is not required that each
     of the Application Note criteria be satisfied to find
     that a motion for compassionate release should be
     granted. Rather, 18 U.S.C. §3582(c)(1)(A) requires
     only that the court determine whether a reduction in
     sentence is 'consistent with' the §1B1.13 Policy
     Statement.
DiMasi, 220 F. Supp. 3d at 192-93 n.13.

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       Therefore,     the    court       is    allowing      Pena's      Motion      for    an

Indicative Ruling (Dkt. No. 173). The court is requesting that

the First Circuit remand the case to this court. The court will

then    order    that      Pena    be    tested       again.       If   he   again      tests

negative, the court will order his immediate release. The court

does not intend to order that Pena be quarantined for 14 days at

FMC Devens, as required by the usual Bureau of Prisons practice.

Quarantine would require Pena to stay in solitary confinement

for 14 more days, which would be more punitive than helpful, as

it would continue to put Pena at risk of being infected by staff

or other inmates.

       In   addition,       the     court      is    increasing         Pena's    term      of

Supervised Release from two years to three years, to be served

until    January     26,    2022    on   the       special    condition       that    he    be

confined to his home. See 18 U.S.C. §3582(c)(1)(A). As indicated

earlier, Pena's false statement regarding his weight influences

the    court    to   conclude       that      his    home    confinement         should     be

subject to electronic monitoring. The court has been ordering

that only rarely during the pandemic because it requires some

physical       interaction        between     the     Probation         Office    and      the

defendant. However, the court does find that is necessary in

this case and that the risk to the Probation officer should be

minimized      because,     if     released,        Pena    will    have     twice   tested

negative for the COVID-19 virus.

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      Pena will be allowed to leave home only with the prior

permission of Probation for medical appointments. If he suffers

a medical emergency, he will not be required to get approval in

advance to leave home, but he will have to report the emergency

to Probation within 24 hours. Pena will also be permitted to

leave for religious observances with the prior permission of

Probation. This will be allowed only if religious institutions,

such as churches, have been reopened.

      The   existing     conditions         of    Supervised       Release   will    also

continue.       See   Judg.    4-6    of    12    (Dkt.    No.     147).   Among    other

things, Pena is again being ordered to pay restitution in the

amount     of    $2,500,000,     and       must    provide       Probation   with    any

requested       financial     information.        The   United     States    Attorney's

Office may make requests for information to Probation. Probation

shall communicate those requests to Pena, or, if it believes

that the requests may be unreasonable, seek guidance from the

court. Probation shall also propose to the court for approval a

plan for the payment of restitution.

VII. ORDER

      In view of the foregoing, as previously ordered on May 15,

2020, it is hereby ORDERED that:

      1.        Pena's Motion for an Indicative Ruling (Dkt. No. 173)

is ALLOWED. The court finds that defendant's Emergency Motion

for   Compassionate         Release    under       18     U.S.C.    §3582(c)(1)(A)(i)

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(Dkt. No. 171) raises a substantial issue and that, if the Court

of Appeals for the First Circuit remands for the purpose of

ruling on the Motion, and Pena again tests negative for the

COVID-19 virus, the court will allow the Motion and re-sentence

defendant as follows:

            a.       The    court       will    modify    defendant's     sentence     of

imprisonment to time-served;

            b.       The    court       will     increase     defendant's     term     of

Supervised Release to three years, on the mandatory, standard,

and special conditions imposed at sentencing on April 23, 2019,

and, until January 26, 2022, on the following special condition:

            Defendant           shall    be    restricted    to   his    residence     in

Falmouth,    Massachusetts,              subject     to     electronic     monitoring,

except   for     medical          appointments        approved     in     advance      by

Probation;     any    medical       emergency,       provided     he    report    it   to

Probation    within        24    hours;       religious   observances     approved     in

advance by Probation; and court appearances or other activities

approved by the court; and

            c.       The    remainder          of   defendant's        sentence   shall

otherwise be unchanged and remain in effect.




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     2.   Defendant shall promptly notify the clerk of the Court

of Appeals of this ruling and Order. See Fed. R. Crim. P. 37(b);

Fed. R. App. P. 12.1. 2




2    On May 18, 2020, the Court of Appeals for the First Circuit
remanded this case to the court. Dkt. No. 216. Pena again tested
negative for the COVID-19 virus. Therefore, his motion for
compassionate release was granted. Dkt. No. 220. Pena was
released on May 19, 2020.

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